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                    UNITED STATES COURT OF APPEALS
                           for the FIFTH CIRCUIT
                         _______________________

                              CASE NO.: 22-30547
                           ________________________

Stacey Badon, on behalf of herself and all those similarly situated;
Altravese Gardner; Bernette Kinard; Chanell K. Wilson; Deborah Ann Carson;
Dereinisha N. Johnson; Diane Jones; Gloria Williams; Helen Hudson; Kwane
Harris; Rachel Williams; Shena Day; Sheneatha Baptiste; Tineka Benn; Treonda
Irvin; Francis F. Paz Pessoa; Francine Veal Dixon; Mary Morgan; Rena Lyons;
Terry Watson; Chandonais Banks,

                                Plaintiffs-Appellees,

v.

Berry’s Reliable Resources, L.L.C.; Rhonda Williams,

                              Defendants -Appellants



Anthony Badon,

                                 Plaintiff-Appellee

v.

Berry’s Reliable Resources, L.L.C.; Rhonda Williams,

                              Defendants-Appellants,



Francine Dixon, on behalf of herself and all those similarly situated,

                                 Plaintiff-Appellee
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v.

Berry’s Reliable Resources, L.L.C.; Rhonda Williams; Tyese Berry; Raeon
Williams,

                              Defendants-Appellants

__________________________________________________________________
              On Appeal from the United States District Court
                   for the Eastern District of Louisiana
                        USDC No. 2:19-CV-12317
                          USDC No. 20-CV-584
                          USDC No. 21-CV-596
__________________________________________________________________

               MOTION FOR RECONSIDERATION
DEFENDANTS-APPELLANTS’ EXPEDITED MEMORANDUM IN SUPPORT
 OF THEIR MOTION TO QUASH AND/OR STAY PLAINTIFFS’ WRIT OF
                      GARNISHMENT



      Petitioners, through undersigned counsel, Defendants-Appellants Berry’s

Reliable Resources, LLC, Rhonda Williams, Tyese Berry and Raeon Williams in

accordance with FRAP Rule 27, who submits this Motion for Reconsideration

from the judgment rendered by the circuit panel on July 21, 2023 denying

appellants motion to stay and motion to quash Plaintiffs’ Writ of Garnishment.

Petitioners avers that rehearing is warranted pursuant to 28 U.S.C. § 46(c) as cited

in Western Pacific Ry. Corp. Western Pacific Ry. Corp. 345 U.S. 247, 735 S. Ct.

656, 97 L. Ed. 986 (1953), and should be granted for the following reasons:




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      1. A FRAP Rule 27 for Motion for Reconsideration determination is sought

          and necessitated to maintain the uniformity of the court because the

          interlocutory judgment does not comport with precedent or stare decisis

          of the United States Supreme court.

      2. The case or controversy involves a question of exceptional importance

          due to the impact of the panel judges’ disposition though the opinion was

          unpublished.

               FACTUAL AND PROCEDURAL BACKGROUND

      The district court issued a post-trial order awarding attorney fees and

garnishment to plaintiffs though divested of jurisdiction subsequent the timely

filing of a notice of appeal to the fifth circuit court of appeals from a final

judgment rendered on October 7, 2022. Defendants appealed the judgment on

August 23, 2023, as a matter of right in accordance with FRAP Rule 3. The Fifth

Circuit Court of Appeals has jurisdiction over the case divesting the district court.

Renaldo v. Corbett, 256 F.3d 1276, 1278 (11th Cir. 2001).

      Pursuant to FRAP Rule 3 and 4(a)(1) a notice was filed withing 30 days as

required by law. Effect of a Notice of Appeal: A district court lacks jurisdiction,

i.e., authority, to act after the filing of a timely notice of appeal except for action in

aid of appellate jurisdiction or to rule on a timely motion of the type specified in

Fed. R. App. P. 4(a)(4) which is inapplicable in this appeal.


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      Defendants are asking the panel judges to revisit the procedural law

controlling this appeal found in the recent decision by U.S. Supreme Court through

Coinbase, Inc. v. Bielski, 22-105 (June 23, 2023), which provided an automatic

stay. The entity Berry’s Reliable Resource, LLC contracts with the State of

Louisiana to provide healthcare services to the general public. The post-trial order

of the district court authorized plaintiffs’ garnishment through the billable wages of

the company which tortuously affects its entire business operation, management

staff, employees, and contractors’ abilities to perform healthcare services and

fulfill its duties and obligations under the terms and conditions of the agreement

with the state. Counsels for plaintiffs are aware that their action are indirect

conflicts with the recent decision by the U.S. Supreme Court in Coinbase, Inc. v.

Bielski, 22-105 (June 23, 2023).

      Defendants contend that such practice circumvents their due process secure

in the 5th and 14th Amendments procedural and substantive due process right. This

case or controversy contains a question of exceptional importance in that

garnishment of its wages tantamount to dissolution of providing services to citizens

of the state of Louisiana with mandatory and major life activities need for

assistance.




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      Precedent of the U.S. Supreme court, Circuit courts of the United States and

this court has well established the issue involved in this case requiring rehearing to

secure and maintain uniformity.

      Defendants, Berry’s Reliable Resources, LLC, Rhonda Williams, Tyese

Berry and Raeon Williams, move to quash and stay the Plaintiffs’ Writ of

Garnishment by Anthony Badon, Stacey Badon, Francine Dixon, Altravese

Gardner, Treonda Irvin, Dereinisha N. Johnson, Rena Lyons, Francis F. Paz

Pessoa, and Glora Williams. Defendants also move to stay all district court actions

pending appeal.

      These consolidated cases concerning Badon v. Berry’s Reliable Resource,

LLC, cases 19-3127 c/w 20-584 c/w 21-596 were tried on August 15-17, 2022.

District Court’s final judgment was filed on October 6, 2022. Magistrate judge’s

report and recommendations were filed on November 17, 2022.               Defendants’

objections to magistrate judge’s orders were due and filed on December 1, 2022.

On January 25, 2023, the District Court entered its decision concerning plaintiff’s

motion for Attorneys’ Fees, Costs and Liquidated Damages.                  Thereafter,

defendants appealed the judgment timely.

      Louisiana Department of Health received garnishment order from United

States District Court for the Eastern District of Louisiana on June 13, 2023

concerning defendants’ Medicaid payments.            Defendants-Appellants, Berry’s


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Reliable Resources, L.L.C., Rhonda William, Raeon Williams and Tyese Berry

seek the issuance of cease-and-desist order to the Louisiana Department of Health

immediately restraining and enjoining Mary Jackson and Jody Jackson and/or

JACKSON & JACKSON law firm from collection activities of garnishment of

Medicaid payments in their possession, custody and control for health care services

rendered for the benefit of consumers of the entity. The garnishment was instituted

by executory process in violation of the FRAP Rule 3 and 4 and infringes on the

defendants’ procedural and substantive due process rights under the United States

and Louisiana constitution.

                              GROUNDS TO QUASH

      Pursuant to §46:73 Motion to quash writ of garnishment, defendants move

this honorable court to quash writ of garnishment because district court’s

jurisdiction has stayed do the appeals court now have jurisdiction.        As stated

above, defendants filed a timely appeal in this matter. The Fifth Circuit Court of

Appeals has provided deadlines. As such, the Plaintiffs’ writ of garnishment

should be quashed.

                              GROUNDS TO STAY

      The US Supreme Court has settled the question of whether an interlocutory

appeal of the denial of a motion to compel arbitration pursuant to section 16(a) of

the Federal Arbitration (FAA) automatically stays the district court proceedings.


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In a highly anticipated 5-4 decision, the Court ruled that it does.                             Justice

Kavanagh’s succinct opinion in Coinbase, Inc. v. Bielski1 lays out what he calls

the majority’s “common sense” holding, which resolved a decades-long circuit

split.

           The US Supreme Court granted certiorari to determine whether the district

court proceedings ought to have been stayed pending the plaintiff’s interlocutory

appeals, and to resolve move generally the split among the circuits over the

question of a mandatory stay rule. Justice Kavanaugh delivered the opinion of the

Court. When a federal district court denies a motion to compel arbitration, the

losing party has a statutory right to interlocutory appeal. See 9 U.S.C. §16(a). The

sole question here is whether the district court must stay its pre-trial and trial

proceedings while the interlocutory appeal is ongoing. The answer is yes: The

district court must stay its proceedings.

           The court in Gallo v. Air & Liquid Sys. Corp. (S.D. Tex. 2023) clearly

stated the US Supreme Court reasoning in Coinbase, Inc. v. Bielski, 599 U.S. --,

2023 WL 4138983, at (U.S. June 23, 2023), that district court must stay its

proceedings while an appeal, an interlocutory appeal is ongoing. In this case, the

defendants timely filed an appeal from a final judgment. As such, this matter must

be stay until the appeal matter is resolved.


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    Coinbase, Inc. v. Bielski, 22-105 (June 23, 2023).

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      The Court in T.T. Int & #39; l Co. v. BMP Int & #39;1 (M.D. Fla. 2023),

clearly stated the US Supreme Court reasoning in Coinbase, Inc. v. Bielski No.

22-105, 2023 WL 4138983 (U.S. June 23, 2023), lease the court without discretion

to deny a request stay. Id. at 4. Plaintiff argues that the Court can, and should,

deny defendants’ request stay based on frivolity considerations.

      The Court is constrained by the Coinbase Court’s reiteration of the rule that

“[a]n appeal, including an interlocutory appeal, ‘divests the district court of its

control over those aspects of the case involved in the appeal.’” 2023 WL 413898 at

*3. And the Court in Coinbase discussed Plaintiff’s contention about frivolous

appeals and discounted it, at least vis-à-vis trial court stays. Id. At *5.

      Pursuant to Federal Rules of Appellate Procedure Rule 8 (a) Motion to stay

(1) Initial Motion in the District Court. A party must ordinarily move first in the

District for following relief:

      (A)A stay of the judgment or order of a district court pending appeal;

      (B) Approval of a bond or other security provided to obtain a stay of

          judgment; or

      (C) An order suspending, modifying, restoring, or granting an injunction

          while an appeal is pending.

      As per the appending appeal of this matter, this court should stay the

Plaintiffs’ writ of garnishment.


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                                  CONCLUSION

      For the foregoing reasons, the Defendants respectfully request the Court to

quash and/or stay the Plaintiffs’ Writ of Garnishment filed in the District Court by

Anthony Badon, Stacey Badon, Francine Dixon, Altravese Gardner, Treonda Irvin,

Derinisha N. Johnson, Rena Lyons, Francis F. Paz Pessoa, and Gloria Williams.

      Defendants further request that this matter be stayed pursuant to the recent

decision by the US Supreme Court in Coinbase, Inc. v. Bielski in which the

Court’s ruling provides mandatory stay order for an appeal, and interlocutory

appeal. As such, this matter must be granted, and plaintiffs’ garnishment stay.

                                               Respectfully Submitted:



                                               /s/ Larry M. Aisola, Jr.
                                               Larry M. Aisola, Jr. (L.S.B.A.#27934)
                                               208 W. Judge Perez Drive
                                               Chalmette, Louisiana 70043
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                         CERTIFICATE OF SERVICE

      I hereby certify that; I electronically filed the foregoing appeal on this 11th

day of August, 2023 through the appellate court clerk of court office by using the

ECF filing system which will send notification of its filing to all opposing counsel

of record.

                               /s/ Larry M. Aisola, Jr.
                                 Larry M. Aisola, Jr.

                        CERTIFICATE OF CONFERENCE

      As required by Louisiana Rule of Appellate Procedure, 5th CIR. R. 27.4, I

certify that I have conferred, or made a reasonable attempt to confer, with all other

parties, (Jody Jackson and Mary Jackson) which are listed below-about the merits

of this motion with the following results:

      On August 10, 2023, I spoke with Mary Jackson via email, and she does

oppose the motion to quash and/or stay.

                               /s/ Larry M. Aisola, Jr.
                                 Larry M. Aisola, Jr.

                        CERTIFICATE OF COMPLIANCE

      Pursuant to FRAP Rule 32.2 and 32.4, the undersigned certifies this brief

complies with the typed volume limitations of Fed. R. App. P. 32(a)(7). According

to the word and line count of the word processor used to prepare this brief, the

brief contains 1963 words and 260 lines of texts in proportionately spaced typeface


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using Microsoft Word, in Times New Roman 14 pt. font.                The undersigned

understands that there was a material misrepresentation in completing this

certificate, or circumvention of the type-volume limits in F.R.A.P. 32. (a)(7) may

result in the court’s striking brief and imposing sanctions against the person

signing the brief.


                             /s/ Larry M. Aisola, Jr.
                               Larry M. Aisola, Jr.




                                    ORDER

      CONDSIDERING         Defendants’        Motion     Quash   and/Stay   Plaintiffs’

garnishment:

      IT IS HEREBY ORDERED that the Defendants’ Motion to Quash is hereby

Granted.

      IT IS FURTHER HEREBY ORDERED that the defendants’ Motion to Stay

is hereby Granted.

      New Orleans, Louisiana the ______ day of August, 2023.

                __________________________________________
                 UNITED STATES 5TH CIR. COURT APPEALS



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